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 1                                               THE HONORABLE RICARDO S. MARTINEZ
                                                            Trial Date: November 29, 2021
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                         UNITED STATES DISTRICT COURT FOR THE
 7                         WESTERN DISTRICT OF WASHINGTON
 8   RUSSELL H. DAWSON, Personal
     Representative of the Estate of Damaris           No. 2:19-cv-01987-RSM
 9   Rodriguez; REYNALDO GIL; JOSE
     MARTE; A.G.; I.G.; S.G.; D.G.,
10
                                   Plaintiffs,
11
                v.
12                                                     [PROPOSED]
     SOUTH CORRECTIONAL ENTITY
13   (“SCORE”), a Governmental Administrative          STIPULATION FOR AND ORDER OF
     Agency; PENNY BARTLEY; JIM KELLY;                 DISMISSAL
14   TODD BARKER; BRITTNEY PALMORE;
     BRANDON HEATH; PEDRO SANTOS;                      [CLERK’S ACTION REQUIRED]
15   MANDI JARAMILLO; WILLIAM WOO;
     BENDA SCOTT a/k/a BRENDA SCOTT;
16   ETHAN GLOVER; CHRISTOPHER FOY;
     JANE DORE; COLMINTON ALLEN;
17   AARON SEIPP; SCORE JOHN DOES 1-
     10; NAPHCARE, INC., an Alabama
18   Corporation; REBECCA VILLACORTA;
     HENRY TAMBE; NANCY WHITNEY;
19   BILLIE STOCKTON; BRITTANY
     MARTIN; JESSICA LOTHROP; BROOKE
20   WALLACE; SALLY MUKWANA; JOAN
     KOSANKE; RITA WHITMAN; VIRGINIA
21   RICHARDSON; NAPHCARE JOHN
     DOES 1-10; KING COUNTY, a political
22   subdivision of the State of Washington;
     RAUL ADAMS; LELAND ADAMS;
23   ALAN TAG,
24                               Defendants.
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     STIPULATION FOR AND ORDER OF DISMISSAL - 1           KEATING, BUCKLIN & MCCORMACK, INC., P.S.
     2:19-cv-01987-RSM                                                   ATTORNEYS AT LAW
     1002-01502/557393                                             801 SECOND AVENUE, SUITE 1210
                                                                    SEATTLE, WASHINGTON 98104
                                                                        PHONE: (206) 623-8861
                                                                         FAX: (206) 223-9423
            Case 2:19-cv-01987-RSM Document 201 Filed 09/22/21 Page 2 of 4




                                              STIPULATION
 1
                Plaintiffs and the SCORE Defendants have agreed to the dismissal of all claims
 2
     against Defendant SCORE other than those based on state tort law. Specifically, as noted by
 3
     the Court:
 4
                The claims to be dismissed include the Third, Fourth, Seventh, Eighth, Ninth,
 5
                Tenth, Eleventh, Twelfth, Thirteenth, and Fourteenth claims in Plaintiffs’
 6              First Amended Complaint, Dkt. 49, to the extent they relate to SCORE and
                the individually named SCORE Employee Defendants. The Seventh Claim
 7              for relief is pled against all entity and individual defendants and the Tenth
                Claim for Relief is pled against SCORE and NaphCare, but this order does
 8              not affect those Claims for Relief against NaphCare or NaphCare Employee
 9              Defendants because they are not a party to this partial compromise of claims.
     Order Granting Plaintiffs’ Petition to Approve Partial Compromise of Claims Against
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     SCORE, Dkt. No. 199 (“The parties shall file a stipulation dismissing the non-tort claims
11
     addressed in the agreement.”).
12
                Additionally, Plaintiffs and the SCORE Defendants have agreed to dismiss with
13
     prejudice any and all claims against all remaining individual SCORE Employee Defendants,
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     so the state law tort claims that will remain are against SCORE only. The Court previously
15
     dismissed SCORE Employee Defendants Brandon Heath; Pedro Santos; Ethan Glover, and
16
     Colminton Allen. See, Dkt. No. 157. Thus, the following induvial defendants shall be
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     dismissed with prejudice: Penny Bartley; Jim Kelly; Todd Barker; Brittney Palmore; Mandi
18
     Jaramillo; William Woo; Benda Scott a/k/a Brenda Scott; Christopher Foy; Jane Dore; and
19
     Aaron Seipp.
20
                IT IS HEREBY STIPULATED AND AGREED by and between Plaintiffs and the
21
     SCORE Defendants that all of the above-described claims may be dismissed with prejudice
22
     and without assessment by the Court of costs or attorneys’ fees to either party.
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     //
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     STIPULATION FOR AND ORDER OF DISMISSAL - 2                 KEATING, BUCKLIN & MCCORMACK, INC., P.S.
     2:19-cv-01987-RSM                                                         ATTORNEYS AT LAW
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            Case 2:19-cv-01987-RSM Document 201 Filed 09/22/21 Page 3 of 4




     Dated: September 22, 2021       KEATING, BUCKLIN & McCORMACK, INC., P.S.
 1

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     Dated: September 22, 2021       LAW, LYMAN, DANIEL, KAMERRER &
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     Dated: September 22, 2021       WILLIAMS KASTNER
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20                                   Attorneys for the NaphCare Defendants

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     Dated: September 22, 2021       KRUTCH LINDELL BINGHAM JONES, PS
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            Case 2:19-cv-01987-RSM Document 201 Filed 09/22/21 Page 4 of 4




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 3   Dated: September 22, 2021           TERRELL MARSHALL LAW GROUP PLLC

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                                         Telephone: (206) 816-6603
 9                                       Attorneys for Plaintiffs
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                                              ORDER
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                PURSUANT TO THE FOREGOING STIPULATION, IT IS ORDERED that
14
     Plaintiffs’ claims against the SCORE Defendants as described in the above Stipulations are
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     dismissed with prejudice and without assessment by the Court of costs or attorneys’ fees to
16
     either party.
17
                DATED this _______ day of _____________________, 2021.
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                                              THE HONORABLE RICARDO S. MARTINEZ
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     STIPULATION FOR AND ORDER OF DISMISSAL - 4            KEATING, BUCKLIN & MCCORMACK, INC., P.S.
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